Case 2:21-mj-00420-CWD Document1 Filed 02/12/21 Page 1 of 1

AOS (Rev. 11/11) Criminal Complaint
UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America ) Case: 1:21-mj-00217
Vv. ) Assigned to: Judge Faruqui, Zia M
) Assign Date: 2/10/2021
Michael Pope, (07/05/1988) | Description: COMPLAINT W/ARREST WARRANT
)
= : )
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief,
On or about the date(s) of January 6, 2021 in the county of oe in the
inthe Districtof — Columbia, the defendant(s) violated:
Code Section Offense Description

18 ULS.C. 1512(c)(2)- Obstructing or Impeding Any Official Proceeding

18 U.S.C. 231(a)(3)- Civil Disorder

18 U.S.C. 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds

18 U.S.C, 1752(a)(2)- Disorderly and Disruptive Conduct ina Restricted Building or Grounds
40 U.S.C. 5104(¢)(2)(D)- Disorderly Conduct in a Capitol Building

40 U.S.C. 5104(e)(2)(E)- Impeding Passage Through the Capitol Grounds or Buildings

40 U.S.C. 5104(¢)(2)(G)- Parading. Demonstrating. or Picketing in a Capitol Building

This criminal complaint is based on these facts:

See attached statement of facts.

WW Continued on the attached sheet. +
NM oC ) a)

: drfg  —
Veg ce

a * -
Complainant's signature

Clay Chase, Special Agent_

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

 

by telephone. t a 2021.02.10
fo > i ‘ 2 ' !
Date: 02/10/2021 a ¢ 12:56:06 05'00
Judge's siznature
City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge

Printed name and title
